                Case 1:20-cv-00626 Document 3 Filed 03/03/20 Page 1 of 2



                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
 DONALD J. TRUMP FOR PRESIDENT, INC.,                 )
 725 Fifth Avenue                                     )    Civil Action No.: 1:20-cv-00626
 New York, NY 10022                                   )
                                                      )    DISCLOSURE OF CORPORATE
                                                      )    AFFILIATIONS AND FINANCIAL
                         Plaintiff,                   )    INTERESTS
                                                      )
                  v.                                  )
                                                      )
 WP COMPANY LLC                                       )
 d/b/a The Washington Post,                           )
 1301 K Street NW                                     )
 Washington, D.C. 20071                               )
                                                      )
                         Defendant.                   )
                                                      )
                                                      )


        I, the undersigned, counsel of record for Plaintiff, Donald J. Trump for President, Inc.,
certify that to the best of my knowledge and belief, the following are parent companies
subsidiaries, affiliates, or companies which own at least 10% of the stock of Donald J. Trump for
President, Inc. which have any outstanding securities in the hands of the public.

         None

        These representations are made in order that judges of this Court may determine the need
to recusal.




{00106373;1}                                   1
               Case 1:20-cv-00626 Document 3 Filed 03/03/20 Page 2 of 2



Dated: March 3, 2020                          Respectfully submitted,

                                              TOBIN O’CONNOR & EWING

                                              By: /s/ David C. Tobin _____________
                                                   David C. Tobin, Esq. D.C. Bar #395959
                                                   TOBIN O’CONNOR & EWING
                                                   5335 Wisconsin Avenue NW, Suite 700
                                                   Washington, D.C. 20015
                                                   Telephone: (202) 362-5900
                                                   DCTobin@TobinOConnor.com

                                                  Charles J. Harder, Esq.
                                                  Pro Hac Vice Application forthcoming
                                                  HARDER LLP
                                                  132 South Rodeo Drive, Fourth Floor
                                                  Beverly Hills, California 90212
                                                  Telephone: (424) 203-1600
                                                  CHarder@HarderLLP.com




{00106373;1}                              2
